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 1   KRESTA NORA DALY, SBN 199689
     Rothschild Wishek & Sands, LLP
 2   901 F Street, Suite 200
 3   Sacramento, CA 95814

 4   Attorney for Ahmed Chartaev
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 8
                         IN THE UNITED STATES DISTRICT COURT
 9
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,                  ) Case No.: 2:11-CR-00514-GEB
12                                              )
                  Plaintiff,                    ) AMENDED [PROPOSED]
13                                              ) STIPULATION AND ORDER
         v.                                     )
14   AHMED CHARTAEV,                            ) JUDGE: HON. GARLAND E, BURRELL
     KHADZHIMURAD BABATOV,                      )
15   ROMAN MALAKHOV,                            )
     SERGEY SHCHIRSKIY,                         )
16   ANDREY KIM,                                )
     MAGOMED ABDUKHALIKOV                       )
17                                              )
                  Defendant.                    )
18                                              )

19
           It is hereby stipulated and agreed to between the United States of America through
20
     Dominique Thomas, Assistant U.S. Attorney, and defendant, Ahmed Chartaev, through
21
     his counsel, KRESTA DALY, defendant Khadzhimurad Babatov, through his attorney
22
     John Duree, defendant Roman Malakhov, through his attorney Chris Cosca, defendant
23
     Sergey Shchirskiy, through his attorney Danny Brace, defendant Andrey Kim, through
24
     his attorney Kyle Knapp, defendant Magomed Abdukhalikov, through his attorney Preeti
25
     Bajwa, defendant Nicholas Votaw, through his attorney David Fischer, Hakob Sergoyan,
26
     through his attorney Alan Eisner, and Stanislav Sarber, through his attorney Peter Kmeto
27
     that the status conference of January 20, 2012 be vacated and that a status conference be
28
     set for March 16, 2012 at 9:00 a.m.
                                                 1
               Case 2:11-cr-00514-TLN Document 71 Filed 01/20/12 Page 2 of 3



 1          This continuance is being requested because the discovery in this case is
 2   voluminous and new counsel has entered into the case.
 3          The parties request that speedy trial time be excluded from the date of this order
 4   through the date of the status conference set for January 24, 2012 pursuant to 18 U.S.C.
 5   §§ 3161(h)(8)(B)(iv) [reasonable time to prepare] (Local Code T4). The parties further

 6   stipulate that the interests of justice outweigh the defendants’ and the public’s interest in

 7   a speedy trial.

 8
 9   DATED: January 19, 2012                    Respectfully submitted,

10                                               s/Kresta Daly_____________
                                                KRESTA DALY
11                                              Attorney for Ahmed Chartaev
12
                                                 s/Kresta Daly_____________
13   DATED: January 19, 2012                    John Duree
14                                              Attorney for Khadzhimurad Babatov

15
                                                 s/Kresta Daly_____________
16   DATED: January 19, 2012                    Chris Cosca
                                                Attorney for Roman Malakhov
17
18                                               s/Kresta Daly_____________
     DATED: January 19, 2012                    Danny Brace
19                                              Attorney for Sergey Shchirskiy

20                                               s/Kresta Daly_____________
     DATED: January 19, 2012                    Kyle Knapp
21                                              Attorney for Andrey Kim
22                                               s/Kresta Daly_____________
23   DATED: January 19, 2012                    Preeti Bajwa
                                                Attorney for Magomed Abdukhalikov
24
                                                s/Kresta Daly_____________
25   DATED: January 19, 2012                    David Fischer
                                                Attorney for Nicholas Votaw
26
27                                              s/Kresta Daly_____________
     DATED: January 19, 2012                    Alan Eisner
28                                              Attorney for Hakob Sergoyan

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 1
 2                                     s/Kresta Daly_____________
     DATED: January 19, 2012           Peter Kmeto
 3                                     Attorney for Stanislav Sarber
 4
 5                                      s/Kresta Daly_____________
     DATED: January 19, 2012           Dominique Thomas
 6                                     Assistant United States Attorney
 7
                                     ORDER
 8
 9        IT IS SO ORDERED.

10   DATED: 1/19/12
11
                                    GARLAND E. BURRELL, JR.
12                                  United States District Judge

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